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                                                    Exhibit 1




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

 Action No. 22cv389
          Plaintiff/Cross-Complainant Defendant,
          Jefferson County, Colorado/Board of County Commissioners in their official and
          individual capacities.

          Cross/Complaint Defendant
          Jefferson County, Colorado a quasimunicipal corporation and political subdivision of the
          State of Colorado;

          Cross/Complaint Defendant
          Jeremy Cohen in his individual capacity/and his capacity as Supervisor for Jefferson
          County, Colorado, Planning and Zoning;

          Cross/Complaint Defendant
          Amy Reistroffer in her individual capacity/and her capacity as employee for Jefferson
          County, Colorado Planning and Zoning

          Cross/Complaint Defendant
          Madison Pitts in her in her individual capacity/her capacity as employee for Jefferson
          County, Colorado Public Health.

          Cross/Complaint Defendant
          Aly Dressler in her individual capacity/her capacity as employee for Jefferson County,
          Colorado Public Health.

          Cross/Complaint Defendant
          John/Jane doe who have file false public complaints against the Colorado farm knowns as
          the Vine Ranch Farm,
                               v.
          Defendant; Cross/Complaint Plaintiff
          Reed McDonald
          (aka) The Vine Ranch Farm

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                                 DEFENDANT’S RESPONSE TO (SIC)
                                 PLAINTIFF’S MOTION TO DISMISS
                                 DEFENDANT’S CROSS COMPLAINT
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